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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION

WBI Energy Transmission, Inc.,           ) Civil No:
                                         )
                       Plaintiff,        )
                                         )
       vs.                               )
                                         )
An Easement and Right-of-Way             )
Across                                   )
                                         )
189.9 rods, more or less, located in     )
Township 149 North, Range 98 W           )
Section 11: W1/2SE1/4                    )
Section 14: NW1/4NE1/4                   )
                                         )
227.8 rods, more or less, located in     )
Township 149 North, Range 98 W           )
Section 11: N1/2SW1/4, W1/2SE1/4         )
                                         )
242.0 rods, more or less, located in     )
Township 149 North, Range 98 W           )
Section 2: SW1/4SE1/4                    )
Section 11: NE1/4                        )
                                         )
335.3 rods, more or less, located in     )
Township 150 North, Range 98 W           )
Section 35: W1/2E1/2                     )
                                         )
223.8 rods, more or less, located in     )
Township 149 North, Range 98 W           )
Section 28: S1/2N1/2                     )
                                         )
83.6 rods, more or less, located in      )
Township 149 North, Range 98 W           )
Section 14: NW1/4                        )
                                         )
McKenzie County, North Dakota,           )
                                         )
David L. Hoffmann; Denae M.              )
Hoffmann; Leonard W. Hoffmann and        )
Margaret A. Hoffmann, Trustees of the    )
Hoffmann Living Trust dated March 8,     )
2002; Rocky & Jonilla Farms, LLP;        )

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 Randall D. Stevenson; and all other           )
 unknown owners of the above lands,            )
                                               )
                        Defendants.            )


                                CONDEMNATION COMPLAINT


       Pursuant to Fed. R. Civ. P. 71.1(f), Plaintiff WBI Energy Transmission, Inc. (“WBI

Energy”), alleges as follows:

       1.      WBI Energy, a natural gas company within the meaning of the Natural Gas Act, 15

U.S.C. § 717a(6), is engaged in gathering, storing and transporting natural gas. WBI Energy is a

corporation organized and existing under the laws of the state of Delaware, with its principal place

of business at 1250 West Century Avenue, Bismarck, North Dakota. WBI Energy is authorized

to conduct, and is conducting, business in the state of North Dakota.

       2.      This is an action for taking by eminent domain, pursuant to Fed. R. Civ. P. 71.1 and

the Natural Gas Act. WBI Energy, as the holder of a Certificate of Public Convenience and

Necessity, seeks to condemn permanent easements and temporary rights-of-way including

workspace and access roads across the above captioned lands (“Subject Easements”) as more

particularly described on the survey maps attached hereto as Exhibits 1 to 6. The purpose of the

Subject Easements are to aid in the construction, operation and maintenance of approximately 12

miles of 24-inch diameter pipeline from WBI Energy’s existing Spring Creek Meter Station to the

existing Cherry Creek Valve Setting located in McKenzie County, North Dakota (“Line Section

27” or the “Project”) and for the ascertainment and award of just compensation to the Defendants

and parties in interest. Attached hereto as Exhibit 7 is a map of the project route.

       3.      Jurisdiction of this matter resides in this Court pursuant to the Natural Gas Act, 15

U.S.C. § 717f(h) and 28 U.S.C. § 1331.

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        4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the property

that is the subject of this action resides in this judicial district. This action is also brought pursuant

to Rule 71.1 of the Federal Rules of Civil Procedure.

        5.      The authority for the taking arises pursuant to the Natural Gas Act, 15 U.S.C.

§ 717f(h).

        6.      The amounts claimed by the owners of the property to be condemned exceeds the

sum of Three Thousand Dollars ($3,000.00), which provides this Court with subject matter

jurisdiction under the Natural Gas Act, 15 U.S.C. § 717f(h). The owners of each tract at issue have

rejected offers from WBI Energy exceeding $3,000.00.

        7.      WBI Energy is the owner of a Certificate of Public Convenience and Necessity

issued February 13, 1985, by the United States of America Federal Energy Regulatory

Commission (“FERC”) authorizing it to acquire and operate the interstate pipeline facilities

previously owned and operated by Montana-Dakota Utilities Co., (“MDU”) as well as to provide

the certificated service previously provided by MDU under a blanket certificate authorizing routine

activities issued in FERC Docket Nos. CP82-487-000, et al. (“Certificate”).

        8.      On November 30, 2017, WBI Energy filed a prior notice request for authorization,

in accordance with 18 C.F.R. Sections 157.205 and 157.210, to construct and operate the Project.

Attached hereto as Exhibit 8, is a copy of WBI Energy’s Prior Notice Request (FERC Doc. No.

CP18-21-000, Accession Number 20171130-5145 Transmittal Letter and Application.).

        9.      On December 11, 2017, FERC issued a notice of authorization under blanket

certificate for WBI Energy’s request. Attached hereto as Exhibit 9 is a copy of 82 Fed. Reg. 60007

(Dec. 18, 2017), the Federal Register Publication of FERC’s December 11, 2017 notice.




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       10.      Pursuant to 18 C.F.R. § 157.205(h), WBI Energy was authorized to construct and

operate the Project because no protests were filed with FERC.

       11.      In spite of WBI Energy’s efforts and negotiations to secure easements and rights-

of-way for the Project by purchase, it has been unable to acquire easements and rights-of-way for

such purposes across certain lands situated in McKenzie County owned by the named Defendants.

       12.      The property sought to be condemned for a permanent easement and right-of-way,

along with temporary workspace during the initial pipeline construction, is more particularly

described on Exhibits 1 to 6. The following known Defendants have been joined as interest owners

in the described lands:

       Exhibit 1

             Township 149 North, Range 98 W
             Section 11: W1/2SE1/4
             Section 14: NW1/4NE1/4

                          Interest Owners:    David L. Hoffmann – Fee Owner
                                              Denae M. Hoffmann – Fee Owner
       Exhibit 2 (access road)

             Township 149 North, Range 98 W
             Section 11: N1/2SW1/4, W1/2SE1/4

                          Interest Owners:    David L. Hoffmann – Fee Owner
                                              Denae M. Hoffmann – Fee Owner

       Exhibit 3

             Township 149 North, Range 98 W
             Section 2: SW1/4SE1/4
             Section 11: NE1/4

                          Interest Owners:    Leonard W. Hoffmann and Margaret A.
                                              Hoffmann, Trustees of the Hoffmann Living
                                              Trust dated March 8, 2002 – Fee Owner




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       Exhibit 4

             Township 150 North, Range 98 W
             Section 35: W1/2E1/2

                       Interest Owners:       Leonard W. Hoffmann and Margaret A.
                                              Hoffmann, Trustees of the Hoffmann Living
                                              Trust dated March 8, 2002 – Fee Owner

       Exhibit 5

             Township 149 North, Range 98 W
             Section 28: S1/2N1/2

                       Interest Owner:        Rocky & Jonilla Farms, LLP – Fee Owner

       Exhibit 6

             Township 149 North, Range 98 W
             Section 14: NW1/4

                       Interest Owner:        Randall D. Stevenson – Fee Owner (1/3 interest)

       13.      In addition to the persons named above, there may be others who have or may claim

some interest in the property to be taken, whose names are unknown to WBI Energy and after

diligent inquiry have not been ascertained. Any such persons or entities are made parties to this

action under the designation “Unknown Owners.”

       14.      The construction and operation of the Project will provide additional capacity

necessary for the transportation of incremental natural gas volumes for customers in western North

Dakota.

       15.      In order to construct, maintain, and operate the Project, and all appurtenances and

equipment used or useful in the operation thereof, it is necessary for WBI Energy to acquire, by

condemnation, easements with the rights and obligations set forth in Exhibit 10 hereto. WBI

Energy additionally requires a temporary access road as depicted in Exhibit 2.




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       16.     Line Section 27 is scheduled to be in service by September 1, 2018, thereby

requiring construction to begin as soon as possible. Delaying construction will cause increased

costs and expenses that WBI Energy cannot recover, making the potential harm irreparable.

Additionally, any such delay will cause irreparable harm and damage to third-party suppliers and

producers, and potential harm and damage to consumers who depend upon natural gas supplies. It

is therefore necessary, subject to the posting of such bond or surety as the Court deems appropriate,

for WBI Energy to have immediate possession of the above-described property during the

pendency of this suit in order to complete the pipeline and commence operations.

       17.     The construction and operation of Line Section 27 will help reduce the flaring of

natural gas in western North Dakota.

       WHEREFORE, WBI Energy prays for relief as follows:

       1.      Judgment condemning the Subject Easements to WBI Energy;

       2.      Immediate use and possession of the Subject Easements while this action is

               pending;

       3.      Just compensation to be ascertained and awarded to Defendants; and

       4.      For such additional and further relief as the Court deems just.




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 Dated this 16th day of April, 2018.


                                          /s/ Paul J. Forster
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